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                     EXHIBIT E
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                                                                      Page 1
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


                         CASE NO. 15-CV-07433-RWS


       ------------------------------------------x
       VIRGINIA L. GIUFFRE,


                                      Plaintiff,
       v.
       GHISLAINE MAXWELL,
                                      Defendant.


       -------------------------------------------x


                                      May 18, 2016
                                      9:04 a.m.


                       C O N F I D E N T I A L
              Deposition of JOHANNA SJOBERG, pursuant
              to notice, taken by Plaintiff, at the
              offices of Boies Schiller & Flexner, 401
              Las Olas Boulevard, Fort Lauderdale, Florida,
              before Kelli Ann Willis, a Registered
              Professional Reporter, Certified Realtime
              Reporter and Notary Public within and
              for the State of Florida.




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                                                                      Page 19
 1    in your view?
 2           A.    Yes.
 3           Q.    Did you ever -- did you at that time
 4    wonder why she was traveling with Jeffrey?
 5           A.    At that time, I did not.
 6           Q.    Did you later wonder that?
 7           A.    Yes.
 8           Q.    And what was your impression?
 9                 MS. MENNINGER:      Objection, vague,
10           speculative.
11                 THE WITNESS:      I -- we're jumping ahead; is
12           that okay?
13    BY MS. McCAWLEY:
14           Q.    Yes, that's okay.
15           A.    A few days later, I remember asking her
16    questions to try to figure out her role, why she was
17    there, and she gave me vague answers and was never
18    specific.
19                 And so I thought perhaps she just was an
20    assistant, someone that did massages well.              I wanted
21    to believe that she was innocent.
22           Q.    Did you ever refer to her as being
23    orphan-like?
24           A.    I did.
25           Q.    And how did that come about?




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                                                                      Page 25
 1    And I can't recall if they were in the main living
 2    areas.
 3           Q.    Did you see them in the stairwell up to
 4    the second story of the house?
 5           A.    I can't recall.
 6           Q.    Do you know who -- who the people were in
 7    those photos?      Were you familiar with any of them?
 8           A.    No.
 9           Q.    Were you in any of those photos?
10           A.    At one point, yes.
11           Q.    And were you naked in that photo?
12           A.    Topless.
13           Q.    Do you recall seeing any naked photos of
14    Virginia Roberts?
15           A.    I do not.
16           Q.    Where did you go next, after the New York
17    visit?
18           A.    I went to the Virgin Islands.
19           Q.    And who told you that you would be going
20    to the Virgin Islands?
21           A.    He asked me if I wanted to go, and I said
22    I would still like to go.
23           Q.    And do you recall who you -- who went with
24    you to the Virgin Islands?
25           A.    I believe -- well, I know Virginia was




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                                                                      Page 27
 1           leading.
 2                 THE WITNESS:      Jeffrey Epstein; Ghislaine
 3           Maxwell; AP and PK are the two women I do not
 4           recall; Virginia Roberts; and myself.
 5    BY MS. McCAWLEY:
 6           Q.    Do you recall how you flew back from the
 7    location in the US Virgin Islands?
 8           A.    They put me on a commercial flight.            I
 9    wanted to be home in time for Easter.
10           Q.    When you say "they," do you recall who
11    made those arrangements for you?
12           A.    It could have been Ghislaine.
13           Q.    Did you -- do you recall performing
14    massages while you were in the US Virgin Islands?
15           A.    Yes.
16           Q.    Who was involved in -- was there more than
17    one?
18           A.    Yes.    I massaged Ghislaine at one point.
19    And I massaged Jeffrey, Virginia and I, both, on the
20    beach.
21           Q.    Were you dressed during the massage that
22    was on the beach?
23           A.    Yes.    Bikinis probably, most likely.
24           Q.    Do you recall what Virginia was wearing?
25           A.    I believe she was wearing a bathing suit,




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                                                                      Page 29
 1           Q.    Did you ever see Ghislaine Maxwell during
 2    that trip laying out by the pool?
 3           A.    There was one time where we were all by
 4    the pool, yes.
 5           Q.    Was Ghislaine Maxwell ever nude or topless
 6    by the pool?
 7           A.    I don't recall.       She was nude when she
 8    went swimming in the ocean.
 9           Q.    At that moment in the USVI home, did you
10    observe any photos there of nude females?
11           A.    I don't recall.
12           Q.    Besides Virginia, who you mentioned, you
13    observed to be young, did you observe any other
14    females that in your view appeared to be essentially
15    under the age of 18?
16           A.    No.
17           Q.    Did you observe any females who you
18    thought looked young, younger than you?
19           A.    No.
20           Q.    Do you remember an individual by the name
21
22
23
      of
           -
      Epstein?
             A.
                  that you met during your time with Jeffrey


                   In Palm Beach?
24           Q.    Yes.
25           A.    Yes.




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                                                                      Page 42
 1            A.    Sarah Kellen was there.        Ghislaine was
 2    there.       That's all I recall.
 3            Q.    Do you recall why you went on the trip to
 4    New Mexico?
 5            A.    To work.
 6            Q.    Did you perform massages on that trip?
 7            A.    Yes.
 8            Q.    Did you -- do you recall whether you
 9    performed massages with Sarah Kellen on that trip?
10           A.     No.
11           Q.     Do you recall in the New Mexico home ever
12    observing nude photos of females there?
13           A.     I don't recall.
14           Q.     When you would provide massages, would you
15    provide those massages naked?
16           A.     On occasion.
17           Q.     On average, would you be naked, if it was
18    100 percent of the time, more than 50 percent of the
19    time?
20           A.     Can you repeat it?
21           Q.     Sure.   When you're performing the
22    massages, can you tell me -- you said on occasion.
23    Over the five years that you worked for him, how
24    often did you perform massages naked?
25           A.     Somewhere between 25 and 50 percent of the




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                                                                      Page 55
 1    observed her personality to be?
 2            A.   Sure.    She definitely had a great sense of
 3    humor, she loved making jokes.            I mean, in a very
 4    British way.        I don't remember her ever laughing,
 5    but she was funny.
 6                 And I remember just thinking, she -- the
 7    first weekend that we flew to the Virgin Islands,
 8    she flew the helicopter from Saint, wherever we were
 9    to little Saint Jeff [sic] or whatever the name of
10    the island was, and I just thought, wow, who is this
11    woman.
12           Q.    Would you say that you respected her?
13           A.    Yes.
14           Q.    When you ended up getting in the car with
15    her and this other woman and going back to the
16    house, who was driving the car?
17           A.    She was driving.
18           Q.    And where did she take you?
19           A.    She took me to the house in Palm Beach.
20           Q.    And can you describe the house in Palm
21    Beach?
22           A.    Sure.    It's at the end of El Brillo Way,
23    on the Intracoastal.        The house was either white or
24    pink.    It was pink at one time it may have been
25    painted.     It was nothing fancy, it was large, it was




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                                                                      Page 85
 1    something.      That's all I recall.
 2           Q.     Did you go anywhere with Virginia?
 3           A.     Oh, my gosh, yes.      We went to Phantom of
 4    the Opera.
 5           Q.     Who else went?
 6           A.     I think it was just she and I.          I forgot
 7    about that.        Thank you for that memory.
 8           Q.     It's my job.
 9                  Anything else you remember about that day
10    in New York?
11           A.    No.
12           Q.    You said you had given a massage to
13    Jeffrey while you were there on that trip or was it
14    a subsequent trip?
15           A.    That trip.
16           Q.    And how did that come to be?
17           A.    Either he or somebody asked me to go and
18    do it.      Someone showed me to the room, but I don't
19    remember who it was.
20           Q.    Can you describe that room?
21           A.    Yes.    It was high ceilings, dark.         There
22    were, like, dark red walls or dark blue walls or
23    dark blue carpeting or something.            It had a massage
24    table set up in the middle, and there was a large --
25    I want to say like a 15-foot photo, either photo or




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                                                                   Page 87
  1          Q.     Do you know personally whether anyone else
  2    had said no to him?
  3          A.     No.
  4          Q.     Did anyone ever tell you that they had
  5    been in a massage scenario and told him no?
  6          A.     No.
  7          Q.     Do you recall when in your trip the
  8    massage occurred?
  9          A.     Well, it was not the day we landed.           It
 10    must have been that next day that we were there.
 11          Q.     Do you remember anything else about
 12    Virginia from that trip other than the Prince Andrew
 13    thing and Phantom of the Opera?
 14          A.     Well, we were getting ready to leave to go
 15    to the airport, and we were waiting.            She and I sat
 16    on the steps in the foyer.         I do remember just kind
 17    of asking a few questions to try to understand her
 18    role, because at that point now I knew what he
 19    wanted from me in the massage.            And -- but she did
 20    not make it clear to me that she was participating
 21    in that.     So I was prodding gently to see if there
 22    was anything happening that shouldn't have been,
 23    because I was getting the impression that she was --
 24    she told me she was 17.
 25          Q.     She told you she was 17?




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                                                                   Page 88
  1          A.     Uh-huh.
  2          Q.     How did that come up?
  3          A.     I asked her.
  4          Q.     Was anyone else present during this
  5    conversation?
  6          A.     No.
  7          Q.     You mentioned in your earlier testimony
  8    that she seemed orphan-like.
  9          A.     Yes.
 10          Q.     But you said that was something you had
 11    said to Ms. McCawley, correct?
 12          A.     Correct.
 13          Q.     That was not said at the time?
 14          A.     Right.    No.   At the time I was getting an
 15    impression that she did not have a family or she had
 16    walked away from her family.          And it seemed to me,
 17    you know, they had just sort of adopted her, not as
 18    a child, but they would take care of her.
 19          Q.     Did you observe anyone speaking to her as
 20    a child, like make up your bed?
 21          A.     No.
 22          Q.     Did you observe whether she was using
 23    drugs during that trip?
 24          A.     No.
 25                 MS. McCAWLEY:      Objection.




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                                                                   Page 92
  1    celebration or cake with candles.           It was just
  2    another day.
  3          Q.     You said that the Virgin Islands were a
  4    part of that second trip, as well?
  5          A.     Yes.
  6          Q.     And do you remember Ghislaine being part
  7    of the Virgin Islands the second time?
  8          A.     Yes.   That's when she called -- went to
  9    bed and kissed us all on the head and called us her
 10    children.
 11          Q.     Who were the other participants in that
 12    session?
 13          A.     That's who -- I don't recall who was
 14
 15
 16
       there.
             Q.
             A.
                  I want to say that
                                         -
                    But Virginia was not there?
                    Virginia was not there.
                                                 was.




 17          Q.     Do you recall the point in time in which
 18    Virginia went away?
 19          A.     Sort of.    After the trip to New York, I
 20    was given her phone number to call.            And I remember
 21    one time I tried to get ahold of her.            Her boyfriend
 22    answered.     A boyfriend, I would assume, and he
 23    sounded like he was high.         And I couldn't find out
 24    where she was.      And then from there on, she was out
 25    of the picture.




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                                                                   Page 93
  1          Q.     Do you recall how long after the New York
  2    trip that occurred?
  3          A.     I would say it was probably within a month
  4    or two.
  5          Q.     Did she tell you she was working
  6    elsewhere?
  7          A.     No.
  8          Q.     Did you ask her?
  9          A.     No.
 10          Q.     Did she mention that she was a waitress?
 11          A.     No.
 12          Q.     And worked at Taco Bell?
 13          A.     Huh-huh.
 14          Q.     Did you speak to her boyfriend or a
 15    boyfriend at any other time associated with her?
 16          A.     No.
 17          Q.     Did you meet her boyfriend?
 18          A.     No.
 19          Q.     Her fiancé?
 20          A.     No.
 21                 MS. McCAWLEY:      Objection.
 22    BY MS. MENNINGER:
 23          Q.     When you were on the plane with Jeffrey
 24    during these two trips, he was present on all of
 25    those flights?




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                                                                   Page 94
  1            A.   Yes.
  2            Q.   Did you observe any sexual behavior
  3    happening on the plane?
  4            A.   No.    He told me a story of something that
  5    had happened one time.
  6            Q.   Did it involve Ghislaine Maxwell?
  7            A.   No.
  8            Q.   Did it involve Virginia Roberts?
  9            A.   No.
 10          Q.     And you didn't see anything?
 11          A.     No.
 12          Q.     You did give massages to Ghislaine
 13    Maxwell, correct?
 14          A.     Yes.
 15          Q.     On how many occasions?
 16          A.     Maybe somewhere between five and 10.
 17          Q.     Was that over the course of the five
 18    years?
 19          A.     Yes.
 20          Q.     Was there some point during that five
 21    years where Ghislaine Maxwell was not around as
 22    much?
 23          A.     Yes.
 24          Q.     Do you recall when that was?
 25          A.     In the middle.




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                                                                   Page 95
  1          Q.     Did you know why that might be?
  2          A.     No.
  3          Q.     Is that about the time that you started
  4
  5
  6
       seeing
             A. -
       picture more.
                          more frequently?
                    Yeah, I guess she was probably in the
                           Her and Sarah both had kind of been
  7    around the most.
  8
  9
             Q.     Did you observe
       to act like Jeffrey's girlfriend?-        or Sarah appearing


 10
 11
 12
             A.
             Q.
             A.
                   -       , not Sarah.
                    What did you observe?
                    She was just very loving, kissing him.
 13          Q.     Did you know how old she was?
 14          A.     I didn't know.
 15          Q.     So you gave massages to Ghislaine five or
 16    10 times.     Was there anything unusual about those
 17    massages?
 18          A.     No.
 19          Q.     You've been quoted in the press perhaps as
 20    saying that she wasn't very picky?
 21          A.     About massage?
 22          Q.     About her massages.
 23          A.     Not like Jeffrey, I guess.         I mean, saying
 24    that meant that, you know, I would do whatever I
 25    wanted to do in the massage; whereas, Jeffrey was,




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                                                                   Page 96
  1    like, Do my foot, do my leg.          He would kind of
  2    narrate what he wanted.         She just wanted a massage.
  3    So if that makes sense.
  4          Q.     She may have been naked under a towel --
  5          A.     Definitely.
  6          Q.     -- in a regular massage fashion?
  7                 MS. McCAWLEY:      Objection.
  8                 THE WITNESS:     Yes.    Actually, I do recall
  9          an instance where I was massaging her and
 10          Jeffrey came into the room and he did something
 11          sort of sexual to her, whether it was fondling
 12          her or slapping her butt or something, and she
 13          brushed him off like she was embarrassed.
 14    BY MS. MENNINGER:
 15          Q.     So she never asked you to touch her in a
 16    sexual manner, correct?
 17          A.     No.
 18          Q.     And she did not rub her breasts on you,
 19    for example?
 20          A.     No.
 21                 MS. McCAWLEY:      Objection.
 22    BY MS. MENNINGER:
 23          Q.     She did not demand that you perform oral
 24    sex on her?
 25          A.     No.




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                                                                   Page 97
  1          Q.     Did she did not demand that you undress
  2    during your massages?
  3          A.     No.
  4          Q.     There was nothing from her that was sexual
  5    during the massages that you gave to her?
  6                 MS. McCAWLEY:      Objection.
  7                 THE WITNESS:     Correct.
  8    BY MS. McCAWLEY:
  9          Q.     Do you recall when the last time you gave
 10    her a massage was?
 11          A.     I don't recall.
 12          Q.     Do you recall meeting with her in about
 13    2006 when she was in town for some helicopter
 14    training?
 15          A.     I do recall that.
 16          Q.     Do you recall giving her some massages
 17    during that period?
 18          A.     Yes.
 19          Q.     Do you remember going out to dinner with
 20    her and to a movie?
 21          A.     I remember to a movie, and I don't
 22    remember if we went to dinner.            I remember her
 23    cooking dinner.      That was another way she impressed
 24    me:   She knew how to cook like a chef.            She had done
 25    some culinary training.




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                                                                   Page 98
  1            Q.   And you guys had a normal type
  2    conversation?
  3            A.   Yes.    It was very fun.
  4                 MS. McCAWLEY:      Objection.
  5                 MS. MENNINGER:      I would like to take about
  6            a 5-, to 10-minute break, if that's okay.
  7                 THE VIDEOGRAPHER:       Off the record at
  8            11:05.
  9                 (Thereupon, a recess was taken, after
 10          which the following proceedings were held:)
 11                 THE VIDEOGRAPHER:       This is the beginning
 12          of Disk 2.     On the record at 11:25.
 13    BY MS. MENNINGER:
 14          Q.     Hi.    I believe when we left off I was
 15    asking you about massages that you gave to
 16    Ghislaine.
 17                 Did Ghislaine pay you when she got a
 18    massage from you?
 19          A.     Yes.
 20          Q.     Do you know how much she paid you?
 21          A.     I believe it was 200.        It was the going
 22    rate.
 23          Q.     The same as you were getting paid by
 24    Jeffrey, correct?
 25          A.     Yes.




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  1          Q.     How much?
  2          A.     One hundred dollars extra.
  3                 Can I clarify?
  4          Q.     Absolutely.
  5          A.     He didn't ever say he would pay me more,
  6    but when the massage was more than just a massage
  7    and it was sexual, then he would pay me more.
  8          Q.     It wasn't a discussion; it's just what
  9    happened?
 10          A.     Correct.
 11          Q.     Thank you for clarifying.
 12                 The things that took place with you and
 13    Jeffrey behind closed doors were when you were a
 14    consenting adult, correct?
 15          A.     Yes.
 16                 MS. McCAWLEY:      Objection.
 17                 THE WITNESS:     Correct.
 18    BY MS. MENNINGER:
 19          Q.     And you did not have knowledge of what
 20    took place with other women behind closed doors and
 21    Jeffrey, correct?
 22                 MS. McCAWLEY:      Objection.
 23                 THE WITNESS:     Correct.
 24    BY MS. MENNINGER:
 25          Q.     Do you recall giving an interview to a




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                                                                  Page 102
  1    reporter from the Mail on Sunday?
  2          A.     Yes.
  3          Q.     You told that reporter, I believe, that
  4    the police report painted a picture that it was a
  5    big orgy all the time, but it wasn't?
  6          A.     What I saw, I did not see anything out in
  7    the open sexually.       Me, personally.
  8          Q.     Right.    You did not see orgies happening
  9    in the pool, for example?
 10          A.     No.
 11          Q.     You did not see people engaging in sexual
 12    conduct out in the open areas of the home, correct?
 13          A.     Right.
 14                 MS. McCAWLEY:      Objection.
 15    BY MS. MENNINGER:
 16          Q.     When you became aware of the allegations
 17    against Jeffrey, those came as a surprise to you,
 18    correct?
 19                 MS. McCAWLEY:      Objection.
 20                 THE WITNESS:     Correct.
 21    BY MS. MENNINGER:
 22          Q.     And the surprise was that it involved
 23    underaged girls making that allegation, correct?
 24                 MS. McCAWLEY:      Objection.
 25                 THE WITNESS:     Correct.




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                                                                   Page 103
  1    BY MS. MENNINGER:
  2          Q.     You were asked some questions with
  3    Ms. McCawley about nude photographs that were
  4    present in the home?        Homes?
  5          A.     Uh-huh.
  6          Q.     In Palm Beach, I believe you said there
  7    were some in the room where the massage table was?
  8          A.     Yes.
  9          Q.     Can you tell me what you recall seeing?
 10          A.     It wasn't candid photos.         They were all,
 11    like, staged.
 12          Q.     Like a model?
 13          A.     Yes.   And my -- I don't recall necessarily
 14    knowing any of the people in those photos.              I
 15    remember at one point there was a photo of myself,
 16    but...
 17          Q.     Were they fully frontally nude or were
 18    they staged, like, with, you know, parts of bodies
 19    showing?
 20          A.     I really only remember topless photos.             I
 21    don't remember full frontal photos.
 22          Q.     So exposing the breasts, but not exposing
 23    the genitalia?
 24          A.     Not that I recall.       And Ghislaine's
 25    bathroom, I believe there was a photo of her




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                                                                  Page 104
  1    topless, or a painting.
  2            Q.   A painting?
  3            A.   Uh-huh.
  4            Q.   Did you see any nude or semi-clad photos
  5    of young girls?
  6            A.   No.
  7            Q.   Preteens, for example?
  8            A.   No.
  9            Q.   Something you would consider child
 10    pornography?
 11          A.     Never.
 12          Q.     Other than in the bathroom or the massage
 13    room at the Palm Beach home, do you recall any other
 14    place in the Palm Beach home where you saw any of
 15    these topless photos of women?
 16          A.     I remember there being photos everywhere,
 17    and the ones that stick out in my memory are the
 18    ones -- there was a photo of Ghislaine with the
 19    Pope.    It would not surprise me if there were naked
 20    photos around.      I just didn't retain them in my
 21    memory.
 22          Q.     So when you say there were photos
 23    everywhere, you mean just photos in general?
 24          A.     Yes.   They had a lot of photos around the
 25    house.




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                                                                  Page 105
  1                 MS. McCAWLEY:      Objection.
  2    BY MS. MENNINGER:
  3          Q.     And Ghislaine was not topless in a photo
  4    with the Pope, just so I'm clear?
  5          A.     Correct.
  6          Q.     I just want to make sure we get that
  7    record really clear.
  8                 So you recall there being photos
  9    everywhere; you just remember a couple sticking out
 10    in your brain as being topless?
 11          A.     Yes.
 12          Q.     And the walls on the staircase to the
 13    upstairs were not just covered with nude
 14    photographs, to your recollection?
 15          A.     To my recollection, I just -- I don't
 16    remember.
 17          Q.     Did you observe what you would consider to
 18    be child pornography on any computer in the home?
 19          A.     No.
 20          Q.     Did you observe anyone taking photographs
 21    of young girls in the home?
 22          A.     No.
 23          Q.     The photograph of yourself that you saw,
 24    was that something that you had posed for?
 25          A.     Not, like, professionally.         But I was just




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                                                                  Page 106
  1    sitting, and I believe Jeffrey took the photo.                  I
  2    was just sitting on a couch upstairs in the
  3    bathroom.
  4          Q.     It wasn't taken by a hidden camera?
  5          A.     No.    No.   I was smiling in the picture.
  6          Q.     And, likewise, in the New York home, did
  7    you see anything -- you described a large painting
  8    or a photograph that was in the massage room?
  9          A.     Yes.
 10          Q.     Do you recall any other photos of
 11    semi-clad or naked females?
 12          A.     I don't recall.
 13          Q.     Anything that you would consider to be
 14    child pornography that you saw in the New York home?
 15          A.     No.
 16          Q.     And, likewise, in New Mexico?
 17          A.     I don't recall.
 18          Q.     Do you recall seeing any semi-clad photos
 19    in New Mexico at all?
 20          A.     I do not recall.
 21          Q.     And the Virgin Islands?
 22          A.     Yes, in his bathroom, master bathroom.
 23          Q.     And what do you recall, if anything, about
 24    that photo?
 25          A.     There was a photo of me in there.




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                                                                  Page 112
  1          A.     Right.
  2          Q.     And an increase corresponding to massages
  3    you were giving to guests, correct?
  4          A.     Yes.
  5          Q.     Did any of the guests for whom you gave a
  6    massage mention that they expected something sexual?
  7          A.     No.
  8          Q.     Did they ask you to engage in sexual
  9    contact and you refused?
 10                 MS. McCAWLEY:      Objection.
 11                 THE WITNESS:     No.
 12    BY MS. MENNINGER:
 13          Q.     Marvin Minsky?
 14          A.     I don't know that.
 15          Q.     George Lucas?
 16          A.     No.
 17          Q.     Donald Trump?
 18          A.     No.
 19          Q.     Did you ever massage Donald Trump?
 20          A.     No.
 21          Q.     Sorry, I have to ask, but did you ever
 22    have sex with Alan Dershowitz in the back of a
 23    limousine with Virginia and Jeffrey present?
 24                 MS. McCAWLEY:      Objection.
 25                 THE WITNESS:     Absolutely not.




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                                                                  Page 113
  1    BY MS. MENNINGER:
  2            Q.   Do you know who Alan Dershowitz is?
  3            A.   I do.
  4            Q.   You would remember --
  5            A.   I would remember that.
  6            Q.   Did you ever see Virginia Roberts with any
  7    of the people that I just asked you about?
  8            A.   No.
  9            Q.   Did Virginia ever talk to you about having
 10    been with any of those people?
 11                 MS. McCAWLEY:      Objection.
 12                 THE WITNESS:     No.
 13    BY MS. MENNINGER:
 14          Q.     Did she tell you that she had met any of
 15    those people?
 16          A.     No.
 17          Q.     I believe you saw in that police report a
 18    reference to a friend of Jeffrey named Glenn and his
 19    wife?
 20          A.     Uh-huh.
 21          Q.     Do you remember them?
 22          A.     Vaguely.
 23          Q.     Tell me what you remember.
 24          A.     I remember they had an apartment in -- on
 25    Breakers Row.      I went up there and massaged.          It may




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                                                                  Page 114
  1    have been more than once, but I only really remember
  2    one time.      But there was nothing sexual.
  3          Q.     Neither with the wife, nor with Glenn?
  4          A.     Right.
  5          Q.     Do you remember the apartment?
  6          A.     I only remember that I had to carry my
  7    massage table up some stairs.
  8          Q.     So you actually gave the massage on a
  9    massage table?
 10          A.     Yes.
 11          Q.     Does that help you place it in time as to
 12    when that might have occurred?            In other words --
 13          A.     Well --
 14          Q.     -- did you get your massage license at
 15    some point and a massage table?
 16                 MS. McCAWLEY:      Objection.
 17                 THE WITNESS:     Yes.    He bought me my
 18          massage table around the time that I went to
 19          massage school.       So it could have been any time
 20          after.    If I thought really hard, I could
 21          remember when I went to school.           But it -- I
 22          want to say it's around 2003.
 23    BY MS. MENNINGER:
 24          Q.     Nothing sexual happened with Glenn?
 25          A.     No.




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                                                                  Page 115
  1          Q.     Did Glenn ask you to give him a massage on
  2    the floor of the home?
  3          A.     I don't recall.
  4          Q.     Did you ever discuss Glenn with Virginia?
  5          A.     Not to my recollection.
  6          Q.     Did you ever go to Virginia's home?
  7          A.     No.
  8          Q.     Do you know where she lived?
  9          A.     No.
 10          Q.     Did she talk about it?
 11          A.     Not that I remember.
 12          Q.     Did you see anything in your interactions
 13    with Virginia that led you to believe that she was a
 14    sex slave?
 15                 MS. McCAWLEY:      Objection.
 16                 THE WITNESS:     No.
 17    BY MS. MENNINGER:
 18          Q.     Did you see anyone forcing her to remain
 19    in the home?
 20          A.     No.
 21          Q.     Did you see her look traumatized at some
 22    point?
 23                 MS. McCAWLEY:      Objection.
 24                 THE WITNESS:     No.
 25




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                                                                  Page 116
  1    BY MS. MENNINGER:
  2          Q.     Did you see anything that led you to
  3    believe Virginia Roberts had been trafficked,
  4    sexually trafficked to third parties?
  5                 MS. McCAWLEY:      Objection.
  6                 THE WITNESS:     No.
  7    BY MS. MENNINGER:
  8          Q.     Did Virginia ever tell you that she had
  9    been trafficked?
 10          A.     No.
 11                 MS. McCAWLEY:      Objection.
 12    BY MS. MENNINGER:
 13          Q.     Did you hear anyone direct Virginia
 14    Roberts to go have sex with someone?
 15          A.     No.
 16          Q.     Did Jeffrey ever ask you to go have sex
 17    with another person?
 18          A.     No.
 19          Q.     Did Ghislaine Maxwell ever ask you to go
 20    have sex with another person?
 21          A.     No.
 22          Q.     Did Ghislaine Maxwell ever ask you to give
 23    a massage to someone else?
 24          A.     No.
 25          Q.     Did Ghislaine Maxwell ever ask you to




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                                                                  Page 120
  1          Q.     Okay.   That's fine.
  2          A.     Yeah, sure.
  3          Q.     If it doesn't, it doesn't.         I'm just
  4    asking.
  5                 Did Virginia say anything to you about
  6    having met Prince Andrew before this time in New
  7    York?
  8                 MS. McCAWLEY:      Objection.
  9                 THE WITNESS:     She did not say.
 10    BY MS. MENNINGER:
 11          Q.     Did Prince Andrew say or do anything that
 12    led you to believe that he had met Virginia prior to
 13    that time?
 14          A.     I don't recall.
 15          Q.     Did you ever see Al Gore on the island?
 16          A.     No.
 17          Q.     Did you see his wife, Tipper Gore, on the
 18    island?
 19          A.     No.
 20          Q.     What is your understanding of what the
 21    lawsuit we are here today is about?
 22          A.     I understand that Ghislaine is calling
 23    Virginia a liar, and so Ghislaine is suing Virginia.
 24    I'm sorry.     Strike that.      Reverse it.
 25                 Right, Virginia is suing Ghislaine for




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                                                                   Page 141
  1    always covered himself with a towel.
  2          Q.     I believe I asked this, but I just want to
  3    clarify to make sure that I did:           Did Maxwell ever
  4    ask you to bring other girls over to -- for Jeffrey?
  5          A.     Yes.
  6          Q.     Yes?
  7          A.     Yes.
  8          Q.     And what did you -- did you do anything in
  9    response to that?
 10          A.     I did bring one girl named Jane Doe 2 --
 11    no.   Jane Doe 2 -- it was some girl named Jane Doe 2

 12    that I had worked with at a restaurant.             And I
 13    recall Ghislaine giving me money to bring her over;
 14    however, they never called her to come.
 15          Q.     And then I believe you mentioned that one
 16    of your physical fitness instructors, you brought a
 17    physical fitness instructor; was that correct?
 18          A.     Correct.
 19          Q.     And what did she do?
 20          A.     She gave him a -- like a training session,
 21    twice.
 22          Q.     Twice.
 23                 Did anything sexual in nature happen
 24    during the session?
 25          A.     At one point he lifted up her shirt and




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                                                                  Page 142
  1    exposed her bra, and she grabbed it and pulled it
  2    down.
  3          Q.     Anything else?
  4          A.     That was the conversation that he had told
  5    her that he had taken this girl's virginity, the
  6    girl by the pool.
  7          Q.     Okay.   Did Maxwell ever say to you that it
  8    takes the pressure off of her to have other girls
  9    around?
 10          A.     She implied that, yes.
 11          Q.     In what way?
 12          A.     Sexually.
 13          Q.     And earlier Laura asked you, I believe, if
 14    Maxwell ever asked you to perform any sexual acts,
 15    and I believe your testimony was no, but then you
 16    also previously stated that during the camera
 17    incident that Maxwell had talked to you about not
 18    finishing the job.
 19                 Did you understand "not finishing the job"
 20    meaning bringing Jeffrey to orgasm?
 21                 MS. MENNINGER:      Objection, leading, form.
 22    BY MS. McCAWLEY:
 23          Q.     I'm sorry, Johanna, let me correct that
 24    question.
 25                 What did you understand Maxwell to mean




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  1    expected to have sexual intercourse with Jeffrey?
  2          A.     Yes.
  3          Q.     And when was that?
  4          A.     2005.
  5                 MS. McCAWLEY:      That's it.     I just do want
  6          to also put on the record that we're
  7          designating the testimony as confidential under
  8          the protective order.
  9                F U R T H E R     E X A M I N A T I O N
 10    BY MS. MENNINGER:
 11          Q.     Okay.   You just testified that you have
 12    knowledge -- you had knowledge that -- of what
 13    Jeffrey was doing behind closed doors with other
 14    girls.     Was that your testimony?
 15          A.     Based on what he had told me.
 16          Q.     Okay.   So Jeffrey told you things that he
 17    had done with other girls?
 18          A.     Yes.
 19          Q.     You did not observe any of those things?
 20          A.     No.
 21          Q.     You did not talk to any of those girls
 22    about what they had done with Jeffrey behind closed
 23    doors?
 24                 MS. McCAWLEY:      Objection.
 25




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                                                                  Page 152
  1          Q.     When I say "girl," I really mean women,
  2    correct?
  3          A.     Correct.
  4          Q.     There were other women around who hung out
  5    with Jeffrey, and you don't know what they did
  6    behind closed doors, correct?
  7          A.     Correct.
  8          Q.     So when you heard the implication that she
  9    wanted other girls around to take the pressure off
 10    of her sexually, in your mind that meant other adult
 11    women that he had in his life, correct?
 12                 MS. McCAWLEY:      Objection.
 13                 THE WITNESS:     Correct, doing what I was
 14          expected to do in a massage, you know.
 15    BY MS. MENNINGER:
 16          Q.     Ghislaine didn't have anything to do with
 17    you bringing this woman over for a physical workout
 18    with Jeffrey, correct?
 19          A.     Correct.
 20          Q.     She asked you to bring another girl to
 21    be -- to perform massages at the home?
 22          A.     Yes.   Well, she was always asking if I
 23    knew anyone else.       And so I brought this one girl
 24    that I didn't even know I worked with her at a
 25    restaurant.     So I didn't care what she thought of me




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  1    if anything happened.        And so -- but it never turned
  2    into anything.
  3          Q.     She was an adult?
  4          A.     She was an adult.
  5          Q.     Working at a restaurant with you?
  6          A.     Yes.
  7          Q.     What restaurant was that?
  8          A.     It's a restaurant that's closed.           It's
  9    called BD's Mongolian Barbecue.
 10          Q.     You were asked about the famous people.
 11    You said you met Michael Jackson?
 12          A.     Yes.
 13          Q.     But you did not give him a massage?
 14          A.     No.
 15          Q.     There were other famous people, perhaps,
 16    who were around Jeffrey's home that you didn't meet,
 17    correct?
 18          A.     Correct.
 19          Q.     Do you know whether Virginia Roberts has
 20    told the truth about the age she was when she met
 21    Ghislaine Maxwell?
 22                 MS. McCAWLEY:      Objection.     Exceeds the
 23          scope of cross.
 24                 THE WITNESS:     I don't have any idea what
 25          she told them in terms of her age.




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